

People v Moon (2024 NY Slip Op 01119)





People v Moon


2024 NY Slip Op 01119


Decided on February 29, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 29, 2024

Before: Manzanet-Daniels, J.P., Moulton, Scarpulla, Mendez, O'Neill Levy, JJ. 


Ind No. 5369/16 Appeal No. 1774 Case No. 2018-2740 

[*1]The People of the State of New York, Respondent,
vJonathan Moon, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Steven J. Miraglia of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alex King of counsel), for respondent.



Judgment, Supreme Court, New York County (Kevin McGrath, J.), rendered February 21, 2018, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the fifth degree, and sentencing him, as a second felony drug offender with a prior violent felony conviction, to a term of 2½ years, unanimously affirmed.
By pleading guilty, defendant forfeited his right to appellate review of the court's denial of his CPL 210.40 motion to dismiss the indictment in furtherance of justice (see People v Curley, 212 AD3d 444, 445 [1st Dept 2023], lv denied 39 NY3d 1154 [2023]). Defendant also waived his claim by validly waiving his right to appeal (see People v Cortes, 44 AD3d 538 [1st Dept 2007], lv denied 9 NY3d 1032 [2008]). In any event, even if the claim survives defendant's guilty plea and his waiver of the right to appeal, we would find that the court providently exercised its discretion in denying the motion.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 29, 2024








